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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                               FORT LAUDERDALE DIVISION

In re:

Kersandra Brocks,                                            CaseNo.: 17-13719-RBR
      Debtor.                                                Chapter 13


                        MOTION EOR RRLIEF FROM AIITOMATIC STAY

       YELLOWSTONE CAPITAL, LLC (hereinafter referred to as "MOVANT" or "SECIJRED
 CREDITOR'), by and through its undersigned attorney, hereby moves for relief from the
 automatic stay pursuant to 11 USC $362(d), and in support thereof states as follows:

    1.   On or aboutMarch 28,2OT7,the abovereferenced Debtor filed a Voluntary Petition for
         Relief pursuant to Chapter 13 of the United States Bankruptcy Code.

    2.   Jurisdiction in this cause is granted to the Bankruptcy Court pursuant to 28 USC $1334
         and l1 I-ISC 5362, and all other applicable rules and statutes affecting the jurisdiction.
         of the Bankruptcy Court generally.

    3.   On or about January g,2OO7,the Debtor, Kersandra Brooks executed and delivered a Note
         as well as a Mortgage securing payment of the Note to Mercantile Mortgage Company,
         which is now owned and held by SECURED CREDITOR. The property described in the
         Mortgage was and is now o*r.d by, and in possession of the Mortgagor. The Mortgage
         was recorded in the Official Records of Broward County, Florida on or about January 19,
         2007 at Book 43460, Pages 1454-1469. See a copy of the Note and Mortgage with the
         chain of Assignments of Mortgage attached hereto, and incorporated herein as composite
         Exhibit "A."

    4.   The Mortgage secures the following real property located in Broward County, Florida, to
         wit:

                LOT "A'" BLOCK 4, AMENDED PLAT OF DILLARD PARI(, ACCORDING
                TO THE PLAT THEREOF, AS RECORDED IN PLAT BOOK 33, AT PAGE(S)
                32 OF TrrE PUBLTC RECORDS OF BROWARD COUNTY, FLORIDA.

                PROPERTY ADDRESS:2348 NW 15th Court, Fort Lauderdale, FL 33311

    5. The MOVANT respectfully requests that this Court grant it relief from the automatic     stay
         in this case pursuant to $362(d)(1) of the Bankruptcy Code, for cause, namely the lack of
         adequate protection to MOVANT for its interest in the above stated collateral The value
         of the collateral is insufficient in and of itself to provide adequate protection which the
         Bankruptcy Code requires to be provided to the MOVANT taking into account the value
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       ofthe property and the amount ofthe MOVANT's first Mortgage including all arrearages
       and attorney's fees and costs.

  6.   In support of this Motion for Relief from Automatic Stay, under $362(d) ofihe Bankruptcy
       Code, MOVANT would show that it would be inequitable to permit the Debtor to retain
       the collateral, that there is no equity in the collateral and that said collateral is not
       necessary for an effective reorganization by the Debtor.

  7.   MOVANT submits that lack of adequate protection is the appropriate ground for relief
       which MOVANT seeks under $362(d), and that the possible existence of equity over and
       above the indebtedness, which MOVANT denies exists, would not, even if it did exist,
       constitute adequate protection as contemplated by the Bankruptcy Code. Additionally,
       MOVANT would show that its indebtedness continues to accrue interest while the
       Debtor enjoys the benefit of the collateral without following the requirements of the
       Bankruptcy Code.

  8.   If MOVANT is not permitted to enforce its security interest in the collateral or provided
       with adequate protection, it will suffer irreparable injury, loss and damage.


  9.   The unpaid principal balance due is in the amount of $131,072.35.

  10. The regular monthly payment amount is $998.46"

  11. The total pre-petition arrearage is $31,348.72 as of   March28,Z0l7.


  12. The total amount of indebtedness owed pre-petition is $154,919.94. Please see attached
       Affidavit in Support of Motion for Relief incorporated herein as Exhibit "B."

  13. The subject loan is contractually due for the date of October 1, 20L4.

  14. The value pursuant   to the Broward County Property Appraiser's Office is $107,510.00
       making MOVANT a secured creditor that is not adequately protected pursuant to the
       Bankruptcy Code. Please see a copy of the Miami-Dade County PropertyAppraiser's
       Report attached hereto and incorporated herein as Exhibit "C."

         WHEREFORE, PREMISES CONSIDERED, MOVANT prays that the Debtor be
cited to appear herein; that upon Final Hearing (if necessary) this Court enter an Order granting
relief from the automatic stay under l1 USC $362(d) to allow the MOVANT to continue its in
rem foreclosure, to permit MOVANT to take any and all steps necessary to exercise any and all
rights it may have in the collateral described herein, and to gain possession of said collateral,
together with such further relief as this Honorable Court deems that MOVANT is entitled.




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       I   HEREBY CERTIFY that        I am admitted to the Bar of the United     States Bankruptcy
Court for the Southern District ofFlorida, and I am in compliance with the additional qualifications
to practice in this Court as set forth in the Local Rules.


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                                             Attorneys for Secured Creditor

                                              /s/ Damian Waldman. Esq.
                                              Damian Waldman, Esq.
                                              Florida Bar No.: 0090502




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                                 CERTIFICATE OF SERYICE

       I certify that a true and correct copy of the foregoing was served by CM/ECF notice and/or
regular mail to the parties below this 21't day of April2017   .




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